Case 1:14-ml-02570-RLY-TAB Document 19788 Filed 08/27/21 Page 1 of 2 PageID #:
                                 123095




                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 IN RE: COOK MEDICAL, INC., IVC
 FILTERS MARKETING, SALES PRACTICES
 AND PRODUCT LIABILITY LITIGATION
                                                         Case No. 1:14-ml-2570-RLY-TAB
                                                         MDL No. 2570
 This Document Relates to:

 Brian D. Marko

 Civil Case # 1:21-cv-6530-RLY-TAB


                                  NOTICE OF APPEARANCE

To:    The Clerk of Court and all parties of record

       I am admitted or otherwise authorized to practice in this Court, and I appear in this case on

behalf of plaintiff set forth in the above referenced matter.


                                                       Respectfully Submitted,

Dated: 08/27/2021                                      /s/ Paul L. Stoller
                                                       Paul L. Stoller
                                                       (Admitted Pro Hac Vice, AZ Bar No
                                                       016773)
                                                       DALIMONTE RUEB STOLLER LLP
                                                       2425 E. Camelback Rd., Suite 500
                                                       Phoenix, Arizona 85016
                                                       Tel: (602) 888-2807
                                                       Fax: (855) 203-2035
                                                       Email: paul@drlawllp.com




                                                  1
Case 1:14-ml-02570-RLY-TAB Document 19788 Filed 08/27/21 Page 2 of 2 PageID #:
                                 123096



                                CERTIFICATE OF SERVICE

        I hereby certify that on August 27, 2021, I electronically filed the foregoing document with
the Clerk of the Court using the CM/ECF system which will send notification of such filing to all
participants registered to receive service in this MDL.

                                                     /s/ Paul L. Stoller
                                                     Paul L. Stoller




                                                 2
